        Case 1:19-cv-00705-AA         Document 35      Filed 03/31/21     Page 1 of 16




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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    MEDFORD DIVISION




PETER S. BOGARD and WENDY V.                       Case No. 1:19-cv-00705-AA
BOGARD,
               Plaintiffs,                         DEFENDANT’S SUPPLEMENTAL
                                                   MOTION FOR SUMMARY JUDGMENT
       v.
                                                   FRCP 56
COUNTRY MUTUAL INSURANCE
COMPANY,                                           Oral Argument Requested
             Defendant.


                                              LR 7-1

         Pursuant to LR 7-1, the parties conferred by telephone on July 10, 2020 regarding this

Motion and agreed that cross motions for summary judgment were appropriate.



                 Certificate of Compliance with Word Count Requirement

         Pursuant to LR 7-2(b), the motion for summary judgement and memorandum in support

of the motion do not exceed 11,000 words, or in the alternative, 35 pages. This complies with the


Page 1 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
         Case 1:19-cv-00705-AA         Document 35        Filed 03/31/21     Page 2 of 16




applicable word-count limitation under LR 7-2(b), because it contains no more than 5,547 words,

including headings, footnotes, and quotations, but excluding the caption, table of contents, table

of cases and authorities, signature block, exhibits, and any certificates of counsel



                                    FACTUAL BACKGROUND

         On January 6, 2019, a fire occurred on Plaintiffs’ property while Plaintiff, Peter Bogard,

was making salve from cannabis containing the compound cannabidiol (CBD). (Compl. (ECF No.

3), ¶¶ 10, 16). The fire was caused by Peter Bogard leaving a container of coconut oil on a heat

source unattended (Peter Bogard Deposition, pg. 43 (Exhibit 1)). Plaintiffs filed a claim with

Defendant Country Mutual Insurance Company (“Country”), which Country denied based on the

controlled substances exclusion found in the policy. It is Country’s position that the cannabis

being used by plaintiff at the time of the loss was marijuana, not hemp. (Compl., ¶¶ 11, 14). The

controlled substances exclusion in the Policy states:

       Exclusions - SECTIONS 2 through 6
       A. "'We" do not insure for loss caused directly or indirectly by any of the following.
       Such loss is excluded regardless of any other cause or event contributing
       concurrently or in any sequence to the loss. These exclusions apply whether or not
       there was widespread damage or affects a substantial area or the loss arises from
       natural, man-made, or external forces, or occurs as a result of any combination of
       these.
       ***
       17. Controlled Substance
       The manufacture or processing by an "insured' or with any "insured's" knowledge
       of a Controlled Substance as defined by the Federal Food and Drug Law at 21
       U.S.C.A. Sections 811 and 812.

  (Compl., ¶ 15).

          The cannabis Plaintiff was using at the time of the fire (Exhibit 2 Response to Request

for Admission Nos. 7 & 8) was tested on November 28, 2017. That testing showed the subject

cannabis contained:



Page 2 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
         Case 1:19-cv-00705-AA         Document 35       Filed 03/31/21      Page 3 of 16




                            Cannabinoids                        (mg/g)        (% weight)

               TOTAL THC ((TCHA*0.877) + Δ9THC)                                  0.381

                                THCA                             4.35            0.435

                             Delta 9-THC                         <LOQ            <LOQ

(Exhibit 3).

The results set forth in Exhibit 3 were a result of testing using liquid chromatography and the following

conversion formula: Total THC = (0.877 x THCA) + THC. (Exhibits 4 & 5, Expert Report, Deposition

of Jason Wilson.

                                    POINTS AND AUTHORITIES

         The plant Cannabis sativa L. can be marijuana or hemp. From a regulatory standpoint,

the difference between marijuana and hemp is the concentration of delta-9 tetrahydrocannabinol

(THC), the primary intoxicating compound found in marijuana. Historically, marijuana was

deemed a Schedule I controlled substance by both the Food and Drug Administration (FDA) and

the Drug Enforcement Administration (DEA) pursuant to the 1970 Controlled Substances Act

(CSA). 21 U.S.C. §§801 et seq.; Title 21 C.F.R. Part 1308.11. Specifically, marijuana is broadly

defined in the CSA:

       The term “marihuana” means all parts of the plant Cannabis sativa L., whether growing or
       not; the seeds thereof; the resin extracted from any part of such plant; and every compound,
       manufacture, salt, derivative, mixture, or preparation of such plant, its seeds or resin. Such
       term does not include the mature stalks of such plant, fiber produced from such stalks, oil
       or cake made from the seeds of such plant, any other compound, manufacture, salt,
       derivative, mixture, or preparation of such mature stalks (except the resin extracted
       therefrom), fiber, oil, or cake, or the sterilized seed of such plant which is incapable of
       germination.
                                                                                 21 U.S.C. §802(16).

         Because of its Schedule I status, the unauthorized manufacture, distribution, dispensing

of, and possession of marijuana is prohibited. Under the CSA, Schedule I substances receive the




Page 3 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
         Case 1:19-cv-00705-AA         Document 35       Filed 03/31/21      Page 4 of 16




DEA’s strictest form of regulatory treatment and are the only category that cannot be prescribed

by a physician. Until recently, all cannabis was considered a Schedule I controlled substance. That

changed in 2018. The Agricultural Act of 2018, (2018 Farm Bill) amended the 1970 CSA by

declassifying hemp as a Schedule I controlled substance and shifting its supervision from the DEA

to the United States Department of Agriculture (“USDA”). Congress also changed the definition

of hemp further distinguishing hemp and marijuana under U.S. law. The definition of hemp is

codified in Section 297A of the Agricultural Marketing Act of 1946 (AMA, 7 U.S.C. 1621 et seq.)

as:

       (1) Hemp. The term “hemp” means the plant Cannabis sativa L. and any part of
           that plant, including the seeds thereof and all derivatives, extracts,
           cannabinoids, isomers, acids, salts, and salts of isomers, whether growing or
           not, with a delta-9 tetrahydrocannabinol concentration of not more than 0.3
           percent on a dry weight basis.

As of the passage of the 2018 Farm Bill, hemp, as defined above, is no longer a controlled

substance while marijuana remains so. The Plaintiffs allege the cannabis used at the time of the

fire is hemp, because the “delta-9 THC”, as shown on the test (Exhibit 3), is below 0.3% on a dry

weight basis. (Compl., ¶ 21). In making this argument, Plaintiffs ignore those portions of CSA and

the 2018 Farm Bill which dictate that the substance was in fact marijuana not hemp. Under both

the CSA and the 2018 Farm Bill, the “Total THC” result is the finding that controls the

determination of whether the cannabis in question is hemp or marijuana. Because the test on

Plaintiff’s sample reveals a total THC of 0.381%, the substance being used by plaintiff at the time

of the fire is, by law, marijuana subject to the policy’s controlled substance exclusion.

         The 2018 Farm Bill at § 297B allows States to regulate cannabis, and to adopt cannabis

testing procedures to distinguish hemp from marijuana. The State plan must include “a procedure

for testing, cannabis using “postdecarboxylation” or other similarly reliable methods. 2018 Farm




Page 4 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
         Case 1:19-cv-00705-AA          Document 35        Filed 03/31/21   Page 5 of 16




Bill § 297B(a)(2)(A)(ii).

         This process, and what it means, is described in the report of defendant’s expert (Exhibit

4). For convenience that report is set forth in its entirety here:

       The 2018 Farm Bill deﬁnes Hemp as “the plant Cannabis sativa L. and any part of
       that plant, including the seeds thereof and all derivatives, extracts, cannabinoids,
       isomers, acids, salts, and salts of isomers, whether growing or not, with a delta—9
       tetrahydrocannabinol concentration of not more than 0.3 percent on a dry weight
       basis.”

       The plant Cannabis sativa L. contains THC in two primary forms, delta—9-
       tetrahydrocannabinolic acid (THCA) and delta-9 tetrahydrocannabinol (THC).
       THCA is the non-psychoactive acid form of delta-9 THC. The Cannabis plant
       synthesizes THCA, but not THC. The concentrations of THC in a Cannabis sample
       are due to THCA converting to THC.

       The 2018 Farm Bill requires that testing to determine the amount of delta-9 THC
       be done using “post-decarboxylation or other similarly reliable methods”.
       Decarboxylation is a chemical process by which the carboxylic acid functional
       group of a molecule is removed. In relation to Cannabis and THC, decarboxylation
       refers to the process of transforming THCA into THC.

       The “other similarly reliable method” referred to in the 2018 Farm Bill is the use
       of an accepted mathematical formula which calculates the amount of Delta 9 THC
       that would be produced if a given amount of THCA was subjected to
       decarboxylation. That formula is: “% delta-9 THC + (0.877 X % THCA)” where
       % is the concentration of the molecule by mass.

       The correction value of 0.877 which is applied to THCA in this formula is derived
       by determining the difference in mass between THC and THCA by dividing the
       molecular mass of THC (314.45g/mol) and THCA (358.478 g/mol). 314.45 divided
       by 358.478 equals 0.877. This means that the mass of THC is 87.7% that of THCA.
       By multiplying THCA by 0.877, it is possible to determine how much THC will be
       in the sample once it is heated and decarboxylated.

       I reviewed the EVIO Labs certiﬁcate of analysis with a sampling date of November
       28, 2017. The analysis for the sample featured on the lab report shows a “Total
       THC” concentration of 0.381% w/w. The Total THC concentration was calculated
       by adding the delta 9 THC concentration to the THCA concentration after it had
       been multiplied by 0.877 to correct for decarboxylation. The Total THC value of
       0.381% represents the total amount of Delta-9 THC in the sample by dry weight
       after accounting for the conversion of THCA to delta-9 THC post- decarboxylation,
       as required by the 2018 Farm Bill.




Page 5 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
        Case 1:19-cv-00705-AA         Document 35       Filed 03/31/21    Page 6 of 16




         Mr. Wilson’s opinion is consistent with both federal and Oregon law. Oregon is a state

that regulates its own hemp production under the 2018 Farm Bill. Oregon’s testing requirements

are reduced to administrative rule. THC is defined as "THC" means tetrahydrocannabinol and has

the same Chemical Abstracts Service Number as delta-9 THC. OAR 333-064-0100(61). THCA is

defined as: "THCA" means tetrahydrocannabinolic acid, Chemical Abstracts Service Number

23978-85-0.OAR 333-064-0100(62). Total THC is defined as "Total THC" means the molar sum

of THC and THCA. OAR 333-007-0310 (66).

         Finally, the rules set out the formula for determining Total THC as follows:

       Total THC must be calculated as follows, where M is the mass or mass fraction of
       delta-9 THC or delta-9 THCA:

       M total delta-9 THC = M delta-9 THC + 0.877 x M delta-9 THCA.

                                                                       OAR 333-064-0100(4)(a).

         The U.S. Department of Agriculture interprets the 2018 Farm Bill in the same manner. It

issued a Final Rule, “to establish the domestic hemp production program and to facilitate the

production of hemp, as set forth in the 2018 Farm Bill.” The Final Rule reads in relevant part:

       7 CFR Part 990
       [Doc. No. AMS-SC-19-0042; SCl9—990-2 FR]
       Establishment of a Domestic Hemp Production Program
       AGENCY: Agricultural Marketing Service, Department of Agriculture (USDA).
       ACTION: Final rule.
       SUMMARY: This ﬁnal rule supersedes the interim ﬁnal rule that established the
       Domestic Hemp Production Program, as mandated by the Agriculture Improvement
       Act of 2018 (2018 Farm Bill). This rule includes regulations used by the
       Department of Agriculture (USDA) to approve plans submitted by States and
       Indian Tribes for the domestic production of hemp. This rule also includes
       regulations on the Federal hemp production plan for producers in States or
       territories of Indian Tribes that do not have their own USDA-approved plans. The
       program provides requirements for maintaining records about the land Where hemp
       is produced, testing the levels of total delta-9 tetrahydrocannabinol, disposing of
       non-compliant plants, licensing hemp producers, and ensuring compliance under
       the new program.




Page 6 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
      Case 1:19-cv-00705-AA          Document 35        Filed 03/31/21     Page 7 of 16




                                         ***********

     SUPPLEMENTARY INFORMATION: This rule is issued under the authority
     of section 10113 of the 2018 Farm Bill (Pub. L. 115-334; December 20, 2018),
     which amended the Agricultural Marketing Act of 1946, as previously amended (7
     U.S.C. 1621 et seq.) (AMA), by adding Subtitle G (sections 297A through 297E).

                                         ***********
     Laboratory Testing Requirements

     Section 297B(a)(2)(A)(ii) of the AMA requires that State and Tribal plans for
     primary regulatory jurisdiction include a “procedure for testing, using post-
     decarboxylation or other similarly reliable methods, delta-9 tetrahydrocannabinol
     concentration levels of hemp produced in the State or territory of the Indian Tribe.”
     Since not all testing methods include decarboxylation, AMS is requiring that the
     total THC, which includes the potential conversion of tetrahydrocannabinolic
     acid (THCA) into THC, be reported and used for purposes of determining the
     THC content of a hemp sample.

     The IFR included requirements on how laboratories conduct hemp testing for the
     purposes of regulatory compliance to assure that total THC levels were measured.
     Commenters provided extensive input on testing requirements, particularly the
     requirement to test for “total” THC instead of only “delta-9” THC. AMS is
     retaining this requirement.

     AMS looked at current testing methodologies that would meet the decarboxylation
     requirement set in the 2018 Farm Bill. In gas chromatography (GC) testing, heat is
     applied to the sample, which decarboxylates THCA, producing delta-9 THC, so
     that the ﬁnal delta-9 THC result is actually a total THC result. GC is the more
     traditional technique used for THC testing and was the technique used by Dr. Small
     in his research that derived the 0.3 percent threshold that was used as a basis for the
     2018 Farm Bill requirement and is used by law enforcement as the threshold to
     differentiate hemp from marijuana. In his research papers, the 0.3 percent threshold
     is based on total available delta-9 THC, which is the sum of THCA and delta-9
     THC in the plant material.

     Liquid chromatography (LC) testing does not involve the use of signiﬁcant heat, so
     that the THCA in a sample does not generally decarboxylate. Results can be
     reported for THCA and delta-9 THC separately. When LC is used, the total THC
     needs to be calculated post-testing in order to report results as a “post-
     decarboxylation” delta-9 THC value. The requirement to report the total THC value
     as the THC content regardless of testing methodology used ensures testing
     consistency across the program.

     ///
     ///



Page 7 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
      Case 1:19-cv-00705-AA        Document 35       Filed 03/31/21     Page 8 of 16




     Samples must be tested using post-decarboxylation or other similarly reliable
     analytical methods by which the total THC concentration level reported
     accounts for the conversion of THCA into THC. Acceptable testing
     methodologies currently include gas or liquid chromatography with detection.

     The total THC, derived from the sum of the THC and THCA content, shall be
     determined and reported on a dry weight basis.

                                       ***********
     C. Testing laboratories.

     The THC level in representative samples must be at or below the acceptable hemp
     THC level. Testing must be conducted using post-decarboxylation or other
     similarly reliable methods where the total THC concentration level measured
     includes the potential to convert THCA into THC. Further, test results should
     be determined and reported on a dry weight basis, meaning the percentage of THC,
     by weight, in a cannabis sample, after excluding moisture from the sample. The
     moisture content is expressed as the ratio of the amount of moisture in the sample
     to the amount of dry solid in the sample.

                                       ***********

     The 2018 Farm Bill mandates that all cannabis be tested for THC concentration
     levels using “post-decarboxylation” or similar methods. In the context of this
     part, “post- decarboxylation” means testing methodologies for THC
     concentration levels in hemp, where the total potential delta-9-
     tetrahydrocannabinol content, derived from the sum of the THC and THCA
     content, is determined and reported on a dry weight basis. The post-
     decarboxylation value of THC can be calculated by using a chromatograph
     technique using heat, known as gas chromatography, through which THCA is
     converted from its acid form to its neutral form, THC. The result of this test
     calculates total potential THC. The post-decarboxylation value of THC, or total
     THC, can also be calculated by using a liquid chromatograph technique, which
     keeps the THCA intact, and requires a conversion calculation of that THCA
     to calculate total potential THC. See also the deﬁnitions for decarboxylation
     and total THC.
                                       ***********

     “Total THC” is the post-decarboxylation value of THC, either after testing with gas
     chromatography or LC after using a conversion factor. LC does not use
     decarboxylation as part of the process and this addition is to account for the
     conversion of THCA into THC if decarboxylation was part of the process. The
     addition of 87.7 percent of THCA is applicable if the testing laboratory uses LC
     with detection to measure the THC. Total THC is the measured THC plus 87.7
     percent of THCA.




Page 8 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
      Case 1:19-cv-00705-AA         Document 35       Filed 03/31/21     Page 9 of 16




                                       ***********

     TESTING FOR TOTAL THC

     The IFR requires that when hemp THC levels are measured using post-
     decarboxylation or other similarly reliable methods, the total THC concentration
     level measured must include the potential to convert THCA into THC.

                                       ***********

     CALCULATING TOTAL THC

     The 2018 Farm Bill and IFR identiﬁed and described the procedure for testing THC
     concentration using post-decarboxylation or other similarly reliable methods. The
     term decarboxylated was deﬁned in the IFR as the completion of the chemical
     reaction that converts THC-acid (THCA) into delta-9-THC, the intoxicating
     component of cannabis. The decarboxylated value is also calculated using a
     conversion formula that sums delta-9-THC and eighty-seven and seven tenths
     (87.7) percent of THC-acid. The term decarboxylated is also commonly used in
     science and is the precursor to the term "post—decarboxylation,” which appears in
     the 2018 Farm Bill's mandate on the acceptable cannabis testing methodologies for
     identifying THC concentration levels. AMS adopted this deﬁnition in this ﬁnal rule.

     Conversion Efficiency: Many stakeholders opposed USDA’s conversion formula
     described in the IFR. Comments claimed the IFR was based on 100 percent
     conversion efﬁciency, which is only achievable under controlled laboratory testing
     conditions and is not possible outside of a laboratory environment. One comment
     stated the IFR failed to account for the inefﬁciency of the decarboxylation process.

                                       ***********

     AMS is adopting the calculation provided in the IFR for determining total THC.
     However, the calculation has been clariﬁed to explain the use of the molar
     conversion ratio to mathematically convert THCA to delta-9 THC. As written in
     the IFR, the calculation may have been misunderstood as containing a conversion
     efﬁciency factor, which is not the case. THCA cannot be added to delta-9 THC
     without accounting for the difference in molecular mass. Using stoichiometry, a
     molar conversion ratio (0.877) is used to mathematically convert THCA in terms
     of delta-9 THC. The molar mass of THCA is 358.47 g/mol and the molar mass of
     delta-9 THC is 314.45 g/mol. In other words, the mass of T HCA has to be adjusted
     or multiplied by 0.877 to be comparable to the mass of delta-9 THC.

     The 2018 Farm Bill requires that the THC content be expressed post-
     decarboxylation, which means that the conversion of THCA into delta-9-THC
     to account for the potential total THC in a sample must be taken into account.




Page 9 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
     Case 1:19-cv-00705-AA          Document 35       Filed 03/31/21      Page 10 of 16




                                        ***********

     SIMILARLY, RELIABLE TESTING METHODS

     The 2018 Farm Bill states that State, Tribal, or USDA plans shall include “a
     procedure for testing, using post-decarboxylation or other similarly reliable
     methods, delta-9 tetrahydrocannabinol concentration levels of hemp.”

                                        ***********

     The 2018 Farm Bill states that procedures for testing use post-decarboxylation or
     other similarly reliable methods to determine delta—9 tetrahydrocannabinol
     concentration levels in hemp. AMS stated in the IFR and further adopts the
     language in this ﬁnal rule that at this time two methods meet this requirement for
     decarboxylation. The current acceptable testing methods include gas and liquid
     chromatography, including LC with UV detection. As other testing methods and
     alternatives are developed by industry, AMS will review and evaluate their
     compliance with the 2018 Farm Bill. At this time, genetic testing has not been
     determined to be a similarly reliable testing methodology.

                                        ***********

     For the reasons stated in the preamble, AMS revises 7 CFR part 990 to read as
     follows:

     PART 990 — DOMESTIC HEMP PRODUCTION PROGRAM

                                        ***********

     Authority: 7 U.S.C. 16390 note, 1639p, 1639q, 1639r.
     Subpart A - Deﬁnitions
     § 990.1 Meaning of terms.

                                        ***********

     Cannabis. A genus of ﬂowering plants in the family Cannabaceae of which
     Cannabis sativa is a species, and Cannabis indica and Cannabis ruderalis are
     subspecies thereof. Cannabis refers to any form of the plant in which the total delta-
     9 tetrahydrocannabinol concentration on a dry weight basis has not yet been
     determined.

                                        ***********

     Decarboxylated. The completion of the chemical reaction that converts THC-acid
     (THCA) into delta-9-THC, the intoxicating component of cannabis. The
     decarboxylated value is also calculated using a molecular mass conversion ratio



Page 10 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
     Case 1:19-cv-00705-AA         Document 35        Filed 03/31/21     Page 11 of 16




     that sums delta-9-THC and eighty-seven and seven tenths (87.7) percent of THC-
     acid ((delta—9 THC) + (0.877*THCA)).

     Decarboxylation. The removal or elimination of carboxyl group from a molecule
     or organic compound.

                                        ***********

     Delta-9 tetrahydrocannabinol or THC. Delta-9-THC is the primary psychoactive
     component of cannabis. For the purposes of this part, delta-9-THC and THC are
     interchangeable.

                                        ***********

     Hemp. The plant species Cannabis sativa L. and any part of that plant, including
     the seeds thereof and all derivatives, extracts, cannabinoids, isomers, acids, salts,
     and salts of isomers, whether growing or not, with a total delta-9
     tetrahydrocannabinol concentration of not more than 0.3 percent on a dry weight
     basis.

                                        ***********

     Post-decarboxylation. In the context of testing methodologies for THC
     concentration levels in hemp, means a value determined after the process of
     decarboxylation that determines the potential total delta-9 tetrahydrocannabinol
     content derived from the sum of the THC and THCA content and reported on a dry
     weight basis. The post-decarboxylation value of THC can be calculated by using a
     chromatograph technique using heat, gas chromatography, through which THCA
     is converted from its acid form to its neutral form, THC. Thus, this test calculates
     the total potential THC in a given sample. The post-decarboxylation value of THC
     can also be calculated by using a liquid chromatograph technique, which keeps the
     THCA intact. This technique requires the use of the following conversion: [Total
     THC = (0.877 X THCA) + THC]which calculates the potential total THC in a given
     sample. See the deﬁnition for decarboxylation.

                                        ***********

     Total THC. Total THC is the value determined after the process of decarboxylation,
     or the application of a conversion factor if the testing methodology does not include
     decarboxylation, that expresses the potential total delta-9 tetrahydrocannabinol
     content derived from the sum of the THC and THCA content and reported on a dry
     weight basis. This post-decarboxylation value of THC can be calculated by using a
     chromatograph technique using heat, such as gas chromatography, through which
     THCA is converted from its acid form to its neutral form, THC. Thus, this test
     calculates the total potential THC in a given sample. The total THC can also be
     calculated by using a liquid chromatograph technique, which keeps the THCA



Page 11 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
       Case 1:19-cv-00705-AA         Document 35       Filed 03/31/21     Page 12 of 16




       intact. This technique requires the use of the following conversion: [Total THC =
       (0.877 x THCA) + THC] which calculates the potential total THC in a given
       sample.

                                         ***********

       (3) A State or Tribal plan must include a procedure for testing that is able to
       accurately identify whether the sample contains a total delta-9
       tetrahydrocannabinol content concentration level that exceeds the acceptable hemp
       THC level. The procedure must include a validated testing methodology that uses
       post-decarboxylation or other similarly reliable methods. The testing methodology
       must consider the potential conversion of THCA in hemp into THC and the test
       result must report the total available THC derived from the sum of the THC and
       THCA content. Testing methodologies meeting the requirements of this paragraph
       (a)(3) include, but are not limited to, gas or liquid chromatography with detection.
       The total THC concentration level shall be determined and reported on a dry weight
       basis.

                                         ***********

       § 990.25 Standards of performance for detecting                     total   delta-9
       tetrahydrocannabinol (THC) concentration levels.

       Analytical testing for purposes of determining total THC in cannabis plants shall
       meet the standards in this section.

                                         ***********

       (g) At a minimum, analytical testing of samples for total THC must use post-
       decarboxylation or other similarly reliable methods approved by the Secretary. The
       testing methodology must consider the potential conversion of THCA in hemp into
       THC and the test result must reﬂect the total available THC derived from the sum
       of the THC and THCA content. Testing methodologies meeting the requirements
       of this paragraph (g) include, but are not limited to, gas or liquid chromatography
       with detection.

          (1) The total THC shall be determined and reported on a dry weight basis.
          Additionally, measurement of uncertainty (MU) must be estimated and reported
          with test results. Laboratories shall use appropriate, validated methods and
          procedures for all testing activities and evaluate measurement of uncertainty.

          (2) Any sample test result exceeding the acceptable hemp THC level shall be
          conclusive evidence that the lot represented by the sample is not in compliance
          with this part.

86 Fed. Reg. 5596-5691 (January 19, 2021) (emphasis added)



Page 12 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
        Case 1:19-cv-00705-AA        Document 35       Filed 03/31/21     Page 13 of 16




         Reading the Farm Bill in conjunction with the CSA leads to only one conclusion:

Cannabis containing a Delta-9 THC level above 0.3 is marijuana. Marijuana is a schedule I

controlled substance. To determine if a sample is hemp or marijuana, the amount of THC must be

calculated using post-decarboxylation or other similarly reliable methods where the total THC

concentration level measured includes the potential to convert THCA into Delta-9 THC. Total

THC is the total amount of Delta-9 THC determined after including the amount of Delta-9 THC

the THCA in the sample would produce when converted by decarboxylation. In other words, the

term total THC means total Delta-9 THC. The method used by EVIOS Labs to test the sample in

question, (exhibits 4 & 5), using liquid chromatography and the following conversion formula :

Total THC = (0.877 x THCA) + THC is an approved procedure for testing cannabis to determine

the total amount of Delta-9 THC in the sample.

         The case law is scant on this matter. Defendant was only able to locate one case

nationwide that adequately addressed the issue – State v. Robertson, 2017 Wash. App. LEXIS

2601 (Nov. 16, 2017). Although it pre-dates the 2018 Farm Bill, the analysis is persuasive and

instructive regarding the precise issue raised by Plaintiffs’ theory. In Robertson, defendant

appealed from convictions for possession of marijuana with intent to deliver, among other

convictions. Id. at 1. Relevant to this case, Robertson challenged the sufficiency of the evidence

to convict her for marijuana possession, because she believed the State’s cannabis testing should

exclude THCA from the equation. Id. at 1-2.

         In 2013 and 2014, Washington redefined the level of THC needed to declare cannabis as

“marijuana” and the way experts tested the level of THC. Id. at 2. Robertson was arrested during

the flux in amendments. Id. When arrested, the Washington State Patrol Crime Laboratory

Division analyzed three samples of the recovered plants and found they contained 19.53% THC,




Page 13 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
        Case 1:19-cv-00705-AA         Document 35       Filed 03/31/21      Page 14 of 16




18.23% THC, and 19.93% THC. Id. at 6. The test did not distinguish between delta-9 THC and

THCA (also called “THC acid”). Id.

         On Appeal, Robertson argued the court must define marijuana as cannabis with a THC

concentration above 0.3 percent excluding THCA. Id. at 13. That is precisely Plaintiffs’ argument

in this case, because that is the only way the EVIO test (Exhibit 3) could be read to determine the

cannabis was hemp. The Court agreed with the State that the test must include THCA to give the

statute proper effect noting:

       Delta-9 THC is the primary psychoactive ingredient in marijuana, whereas THC
       acid is nonpsychoactive and must be converted to delta-9 THC to influence the
       user. When someone smokes cannabis, the acid transmogrifies into delta-9 THC
       through a chemical process called decarboxylation.

                                                                                          Id.
At the time of Robertson’s arrest Washington law defined marijuana as:

       [A]ll parts of the plant Cannabis, whether growing or not, with a THC
       concentration greater than 0.3 percent on a dry weight basis; the seeds thereof; the
       resin extracted from any part of the plant; and every compound, manufacture, salt,
       derivative, mixture, or preparation of the plant, its seeds or resin.
                                                                                  Id. at 14.


         The statute later noted,

       “THC concentration” means percent of delta-9 tetrahydrocannabinol content per
       dry weight of any part of the plant Cannabis, or per volume or weight of marijuana
       product, or the combined percent of delta-9 tetrahydrocannabinol and
       tetrahydrocannabinolic acid in any part of the plant Cannabis regardless of moisture
       content.
                                                                                   Id. at 15.

         These definitions comport with both the federal and Oregon definitions, because all three

render cannabis “marijuana” if the delta-9 THC concentration is greater than 0.3% on a dry weight

basis. The Washington court enforced the statute that required including THCA in the calculation,

to “avoid an implication that conversion, by combustion, of tetrahydrocannabinol acid into delta-




Page 14 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
        Case 1:19-cv-00705-AA          Document 35       Filed 03/31/21      Page 15 of 16




9 tetrahydrocannabinol is not part of the THC content that differentiates marijuana from hemp.”

Id. at 23-25. It upheld the conviction on that basis.

         In this case, Plaintiffs’ argument is no different. Plaintiff argues that the delta-9 THC

value should be viewed in isolation and that the THCA converted to delta-9 by decarboxylation

should be ignored. Plaintiff’s argument is contrary to both federal and Oregon law.



                                               CONCLUSION

         “Total THC” is the controlling value on any test to determine if a cannabis sample is

hemp or marijuana. Total THC translates to total delta-9 THC. Total delta-9 THC means delta-9

THC + THCA post- decarboxylation. This is true because the heating (for example smoking it)

converts THCA to delta-9 THC through the process of decarboxylation. To qualify as hemp and

avoid regulation as a controlled substance, the cannabis in question must have a total THC value

of less than .3% on a dry weight basis. The value for the cannabis used by plaintiff at the time of

the fire was .381% making it marijuana a Schedule I controlled substance. Because it was a

controlled substance, the policy exclusion for losses which occur during the manufacture or

processing by an "insured' of a Controlled Substance applies. As a matter of law, Country did not

breach its contract with plaintiff and is entitled to judgment as a matter of law.



  DATED, March 31, 2021.

                                         FROHNMAYER, DEATHERAGE, JAMIESON,
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Page 15 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
       Case 1:19-cv-00705-AA          Document 35      Filed 03/31/21     Page 16 of 16




                                CERTIFICATE OF SERVICE

           I hereby certify that I served the foregoing DEFENDANT’S SUPPLEMENTAL
                      MOTION FOR SUMMARY JUDGMENT upon:

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       by automatic electronic transmission via the Court’s Case Management and Electronic
       Case Filing practice.

       by mailing to said attorney a copy thereof, certified by me as such, contained in a sealed
       envelope, with postage paid, addressed to said attorney at said attorney’s last known
       address and deposited in the post office at Medford, Oregon, on the date set forth below.

       by personally handing said attorney a copy thereof, certified by me as such, on the date set
       forth below.

       by faxing to said attorney a copy thereof, certified by me as such, during normal office
       hours, addressed to said attorney at said attorney’s last known facsimile number as
       indicated above. Proof of such transmission is attached hereto.



Dated this 31st day of March, 2021.

                                             /s/ Bernard S. Moore
                                             Bernard S. Moore, OSB #843051
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Page 16 – DEFENDANT’S SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
